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                              UNITED STATES DISTRICT COURT


                                DISTRICT OF SOUTH DAKOTA


                                     CENTRAL DIVISION



 UNITED STATES OF AMERICA,                                     3:22-CR-300I0-RAL
                                                               3:I9-CR-30113-RAL
                       Plaintiff,


          vs.                                                     SENTENCING
                                                             SCHEDULING ORDER
 TIMOTHY RED ELK,

                       Defendant.




          Defendant Timothy Red Elk appeared before Magistrate Judge Mark Moreno for a

 change of plea hearing on May 19, 2022. Judge Moreno issued a Report and Recommendation

 recommending that the Court accept Defendant's plea of guilty to Count I as alleged in the

 Indictment in 3;22-CR-30010-RAL, and has admitted the allegations in Paragraphs 2 & 3 of the

 Petition to Revoke Supervised Release, Doc. 44, in 3:I9-CR-30I I3-RAL For good cause, it is

 hereby

          ORDERED that this Court adopts the Report and Recommendation, Doc. 28 in 3:22-CR-

 30010-RAL, Doc. 44 in 3:19-CR-30I I3-RAL, the plea of guilty is accepted, and Defendant is

 adjudged guilty of Count 1 as alleged in the Indictment in 3:22-CR-30010-RAL, and accepts the

 admissions to the allegations in Paragraphs 2 & 3 of the Petition to Revoke Supervised Release,

 Doc. 44, in 3:I9-CR-30113-RAL It is further
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        ORDERED that a combined modified presentence report be prepared and the draft shall

 be filed by the Probation Office in CM/ECF using the Draft Presentence Report event by July

 25,2022. It is further

        ORDERED that any objection to the presentence report and notice of intent to seek a

 departure by either the Government or the Defendant shall be filed by counsel in CM/ECF using

 the Objections to Presentence Report event by August 1, 2022. If counsel has no objections to

 the presentence report, counsel should indicate sueh by using the Notice of No Objections to

 Presentence Report event. It is further

        ORDERED that all letters of support shall be filed by counsel in CM/ECF using the

 Sealed Letter(s) of Support event by August 8, 2022. All letters of support shall be legibly

 scanned as one document and not scanned as separate documents. It is further

        ORDERED that the final presentence report shall be filed by the Probation Office in

 CM/ECF using the Final Presentence Report event by August 8, 2022. An addendum setting

 forth any unresolved objections, the grounds for those objections, and the probation officer's

 comments on those objections shall also be filed in CM/ECF using the Addendum to Final

 Presentence Report event. It is further

        ORDERED that any Sentencing Memorandum and Motion for Departure or Variance

 shall be filed in CM/ECF by August 15, 2022. It is further

        ORDERED that the sentencing hearing and any necessary evidentiary hearing regarding

 sentencing shall be held on Monday, August 22, 2022 at 9 a.m., in the Courtroom of the U.S.

 Courthouse in Pierre South Dakota.


        DATED this 20th day of May, 2022.

                                            BY THE COURT:
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                                   ROBERTO A. LANGE
                                   CHIEF JUDGE
